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FoR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES oF AMERICA, W' w m ‘ °”‘~"MS

Plaintiff,
CR. NO. 04-20510-Ma

V'S.

CHRISTOPHER CAVALLO,

-_/-_/--._./\_/\_/~_/~_/~__/~__/

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April 21, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p.m,

The period from April 2l, 2005 through June l7, 2005 is
excludable under 18 U.S.C. § BlGl(h)(S)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT rs so onDERED this day of May, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
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Mark S. McDaniel

LAW OFFICE OF MARK S. MCDANIEL
243 EXchange Avenue

Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

